MASXF 20110425
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File Date 12/28/2012
Status Date 05/14/2013
Origin
Track

Service

Served By
Filed By
Heard By

 

Plaintiff
Robert L Greene
Active 12/28/2012

Defendant
Thomas Griffin
Served: 02/12/2013

1 - Complaint
A - Average track

 

| 03/28/2013

Served (answr pending) 02/21/2013

 

 

 

 

 

 

 

 

Milligan Coughlin LLC

7 Liberty Square

2nd Floor

Boston, MA 02109
Phone: 617-758-8800
Fax: 617-708-4703
Active 12/28/2012 Notify

Private Counsel 667886
John R Bita III

Milligan Coughlin LLC

7 Liberty Square

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Private Counsel 662034
Amy Bratskeir

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City Hall, Room 615
Boston, MA 02201
Phone: 617-635-4017
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Julie A. Ciollo

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Boston, MA 02201
Phone: 617-635-4045
Fax: 617-635-6199
Active 05/14/2013 Notify

 

 

 

Case 1:13-cv-1108Q-Bwhnowcnitent Galea Oeed/13 Page 1 of 20 05/14/2013
SUFFOLK SUPERIOR COURT 09:51 AM
Case Summary
Civil Docket
SUCV2012-04644
Greene v Griffin et al
Status Disposed: transfered to other court (dtrans)
Session A- Civil A, 3 Pemberton Sq, Boston
Case Type E17 - Civil Rights Act (12.011H-1)
Lead Case Jury Trial Yes
aa DEADLINES ae
_Answer | Rule12/19/20| Rule 15 Discovery | Rule 56 Final PTC | Judgment
_ 04/27/2013 | 02/21/2014 | 12/18/2014 | 01/17/2015 _|
04/27/2013 | 05/27/2013 | 03/23/2014 | - | 02/16/2015 — 12/13/2015
06/26/2013 | 03/23/2014 | | 06/16/2015
PARTIES
Private Counsel 642964
llyas J Rona

 

 

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Page 1 of 3
MASXP-20110425 Case 1:13-cv-1108Q@-Psfnoh ecient Saied O2/d/13 Page 2 of 20 05/14/2013
leakes SUFFOLK SUPERIOR COURT 09:51 AM
Case Summary

Civil Docket

SUCV2012-04644
Greene v Griffin et al

i Defendant Private Counsel 662034
| Stephen Fabiano Amy Bratskeir

| Served: 02/12/2013 Boston (City of) Law Dept
| Served (answr pending) 02/12/2013 City Hall, Room 615

Boston, MA 02201
Phone: 617-635-4017
Fax: 617-635-6199
Active 05/14/2013 Notify

Private Counsel 666080
Julie A. Ciollo

Boston (City of) Law Dept
CITY HALL

Room 615

Boston, MA 02201
Phone: 617-635-4045
Fax: 617-635-6199
Active 05/14/2013 Notify

Defendant
John Doe 1
Dismissed under time standards 05/01/2013

HEREBY ATTEST AND CERTIFY ON

  
    

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“CUBTORY.

 

Defendant
John Doe 2
Dismissed under time standards 05/01/2013

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Asst. see

 

_ ENTRIES |
Date Paper __ Text
12/28/2012 1.0 Complaint & Jury Demand on all Issues
12/28/2012 Origin 1, Type E17, Track A.
12/28/2012 2.0 Civil action cover sheet filed($25,000.00)
peeileore 3.0 SERVICE RETURNED: Thomas Griffin(Defendant) (in hand) Stephen Fabiano
(in hand 2/12/13)
05/01/2013 4.0 ORDER OF DISMISSAL re: John Doe 1; John Doe 2 (w/o prejudice; service
not complete by 1-88 deadline). Copies mailed.
05/01/2013 Case status changed to 'Needs review for answers’ at service deadline
review
05/02/2013 Copy of Petition for Removal to US Dist Court of defendants (US Dist#
13-cv-11080)
05/14/2013 Case REMOVED this date to US District Court of Massachusetts
EVENTS

 

case01 318014 yyyyyy Page 2 of 3
MASXP-20110425 Case 1:13-cv-1108Q-BilfnohReHieot Srablah@aad/13 Page 3 of 20 05/14/2013
leakes SUFFOLK SUPERIOR COURT 09:51 AM
Case Summary

Civil Docket

SUCV2012-04644
Greene v Griffin et al

case01 318014 yyyyyy Page 3 of 3
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Case 1:13-cv- fe Docume Filed 05/01/13 Page 1 of 2

IL VOY
UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

CIVIL ACTION NO.

 

THOMAS GRIFFEN, STEPHEN
FABIANO, and presently unidentified JOHN
DOE NO. | & JOHN DOE NO. 2,

ROBERT L.GREENE, LY. § Di
| Bey O80”

Defendants.

 

 

NOTICE OF REMOVAL
(PURSUANT TO 28 U.S.C. § 1441)

The Defendants, Thomas Griffen and Stephen Fabiano (“Defendants”), hereby give

notice of the removal of this action - pursuant to 28 U.S.C. § 1441 — from the Suffolk Superior

Court, where this action is currently pending. In Superior Court, the case is docketed as Civil

Action No. 2012-4644-A and has the same caption as above.

In support of this notice, the Defendants state:
In Count One and Count Two of his Complaint, Plaintiff is suing the Defendants
pursuant to 42 U.S.C. § 1983, alleging various violations of his federal and state civil
rights. (See Plaintiff's Complaint, attached as Exhibit 1).
Accordingly, the Plaintiff's Complaint arises under the Constitution, treaties or laws of
the United States and therefore is subject to removal under 28 U.S.C. § 1441(b).
A fair reading of the Plaintiff's allegations makes it reasonably apparent that federal
constitutional law is at issue in this case and therefore the Defendants, Thomas Griffen

and Stephen Fabiano, have a statutory right to remove this action.
Case 1:13-cv-11080-DJC Document6 Filed 05/21/13 Page 5 of 20
Case 1:13-cv-11080 Document1 Filed 05/01/13 Page 2 of 2

_SERERY ATTAST AND CERTIFY ON
Ma ay 14, 2013 THAT THe

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j COPY. OF THE

  
 

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west. we Get

Date: May 1, 2013

Respectfully submitted,

Defendants,

THOMAS GRIFFEN and STEPHEN FABIANO,
By their attorneys,

William F. Sinnott, Corporation Counsel

/s/ Amy Bratskeir

Amy Bratskeir, BBO# 662034
Julie Ciollo, BBO# 666080
Assistants Corporation Counsel
City of Boston Law Department
1 City Hall Plaza, Room 615
Boston, MA 02201

(617) 635-4017 (Amy Bratskeir)
Amy.Brakskier@cityofboston.gov
(617) 635-4045 (Julie Ciollo)
Julie.Ciollo@cityofboston.gov

CERTIFICATE OF SERVICE

I, Amy Bratskier, hereby certify that on this date I served a copy of the foregoing

document via mail to the Plaintiff counsel at:

Ilyas J. Rona

John R. Bita III

Milligan Coughlin LLC

7 Liberty Sqaure, 2" Floor
Boston, MA 02109

/s/ Amy Bratskeir
Amy Bratskeir

Date: May 1, 2013
Case 1:13-cv-11080-DJC Document 6 Filed 05/21/13 Page 6 of 20
Case 1:13-cv-11080 Document 1-1 Filed 05/01/13 Page 1 of 1

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

4, Title of case (name of first party on each side only) Robert L. Greene v. Thomas Griffen and Stephen Fabiano et al.

 

2. Category In which the case belongs based upon the numbered nature of sult code listed on the civil cover sheet. (See local
rule 40,1(a)(1)).

[ | I, 410, 444, 470, 535, 830‘, 891, 893, 895, R.23, REGARDLESS OF NATURE OF SUIT.

[V] i 410, 130, 140, 160, 190, 196, 230, 240, 290,320,362, 370, 371, 380, 430, 440, 442, 443, 445, 446, 448, 710, 720,
740, 790, 820*, 840°, 850, 870, 871.

[_| Ml. 120, 150, 151, 152, 153, 195, 210, 220, 246, 310, 315, 330, 340, 346, 360, 356, 360, 365, 367, 368, 376, 385, 400,
422, 423, 450, 460, 462, 463, 465, 480, 490, 510, 530, 640, 550, 555, 625, 690, 751, 791, 861-865, 890, 896, 899,
950.

*Also complete AO 120 or AO 121. for patent, trademark or copyright cases.

3, Title and number, If any, of related cases. (See local rule 40.1(g)). If more than one prior related case has heen filed In this
district please indicate the title and number of the firat fled case In this court.

 

4. Has a prior action between the same parties and based on the same claim ever been filed in this court?
YES [J NO

5. Does the complaint in this case question the constitutionallty of an act of congress affecting the public Interest? (See 28 USC

§2403)
ves [_| NO
YES CJ no [ |

6. Is this case required to be heard and determined by a district court of three Judges pursuant to title 28 USC §22847

yes [ | NO

7, Do all of the parties in thls action, excluding governmental agencies of the united states and the Commonwealth of
Massachusetts (“governmental agencles”), residing in Massachusetts reside in the same divislon? - (See Local Rule 40.1(d)),

YES no | |

If so, Is the U.S.A. or an officer, agent or employee of the U.S. a party?

A. If yes, in which division do_all of the non-governmental parties reside?
Eastem Division | Central Division Western Division [|
B. If no, in which division do the majority of the plaintiffs or the only parties, exctuding governmental agencies,

residing In Massachusetts reside?

Eastern Division | Central Division | Western Division []

8. If filing a Notice of Removal - are there any motions pending In the state court requiring the attentlon of this Court? (If yes,
submit a separate sheet Identifying the motions)
|
ves |! No

(PLEASE TYPE OR PRINT)
ATTORNEY'S NAME Amy Bratskelr
ADDRESS City of Boston Law Department, Room 615; Boston, MA 02201

 

TELEPHONE No, 617-635-4017

(CategoryForm12-2011.wpd - 12/2041}
Case 1:13-cv-11080-DJC Document 6 Filed 05/21/13 Page 7 of 20
Case 1:13-cv-11080 Document 1-2 Filed 05/01/13 Page 1 of 1
33.44 (Rev 12/12) CIVIL COVER SHEET

‘The JS 44 civil cover sheet and the information contnined herein neither re lace nor supper the DR and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil dacket sheet, (S&E INSTRUCTIONS ON NEAT PAGE QF THIS FORM.)

 

L (a) PLAINTIFFS DEFENDANTS
Robert L. Greene Thomas Griffen & Stephen Fabiano
(b) County of Residence of First Listed Plaintiff Suffolk, MA _ ce County of Residence of First Listed Defendant Suffolk, MA _
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S, PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

 

(c) Attorneys (Firm Name, Address, and Telephone Number) Attomeys (if Known)

llyas J. Rona Esq,, and John R, Bita Esq. Attorneys for Defendants:

Milligan Coughlin LLC. Amy Bratskeir and Julle Ciollo, Assts. Corporation Counsel

Seven Liberty Sq, 2nd Floor, Boston, MA 02109 (617) 758-8800 | City of Boston Law Dept. Rm 615 (617) 635-4017

Il, BASIS OF JURISDICTION (Place an “X" tn One Box Only) II, CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box for Plainiiff

(For Diversity Cases Only) and One Box for Defendant)

O 1 U.S. Government 3° Federal Question PTF DEF PTF ~——DEF

Plaintiff (U8. Gavernment Not a Party) Citizen of This State O 1 © 1 Incorporated or Principal Place ao4 04
of Business In This State

O02 US Government 0 4 Diversity Citizen of Another State O 2. OG 2 Incorporated and Principal Place os5 os

Defendant (Indicate Citizenship of Parties in liem Hl) of Business In Another State
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of Veteran's Benofits O 350 Motor Vehicle © 370 Other Fraud Act 0 862 Black Lung (923) Exchange
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© 362 Personal Injury - Product Liability Leave Act Act
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BRRADPROPERT VOR oa} | ioe GHi MSRISONEIN PETITIONS 0|C 791 Employes Retlrement [EPEDENAL TAN SUITS 100) CO , 899 Administrative Procodure
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aig ie 8 Civil suas under which gM aes ing (Do not clte jurisdictional statutes unless diversity):
ain ings sult under 42
VI. CAUSE OF ACTION [iicr description of cause: .
Plaintiff claims Boston Police Officers violated his clvil rights by using excessive force.
VIL, REQUESTED IN (] CHECK IF THIS {S A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: Mi Yes GNo
VIIL RELATED CASE(S) see F
ee instructions):
IF ANY ‘ * ypGE ——— DOCKET NUMBER
DATE 5 SIQNATURE OF ATTORNEY OF RECORD
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RECEIPT # AMOUNT APPLYING IFP JUDGE MAG JUDGE
Case 1:13-cv-11080-DJC Document 6 Filed 05/21/13 Page 8 of 20

COMMONWEALTH OF MASSACHUSETTS

SUFFOLK, ss TRIAL COURT
SUPERIOR COURT DEPARTMENT

 

ROBERT L. GREENE,

Plaintiff,
Vv. Civil Action No.

THOMAS GRIFFIN, STEPHEN
FABIANO, and presently unidentified
JOHN DOE NO. 1 & JOHN DOE NO. 2,

Defendants.

 

 

 

COMPLAINT AND DEMAND FOR JURY TRIAL

jan

Plaintiff Robert L. Greene brings this action for violation of civil rights against
Defendants Thomas Griffin and Stephen Fabiano, both of whom are police officers
employed by the City of Boston, along with two other unidentified Boston police
officers (hereinafter collectively referred to as “Defendants”), based on their use of
excessive force in arresting Greene without a reasonable basis. As grounds for this

complaint, Plaintiff states and alleges as follows:

INTRODUCTION
1. On New Year's Day in 2010, Plaintiff Robert L. Greene (hereinafter
referred to as “Greene”) was approached by several members of the Boston Police
department on suspicion of drug activity, though he was never charged for a drug-

related offense. As the officers approached Mr. Greene, a verbal altercation ensued. The
Case 1:13-cv-11080-DJC Document6 Filed 05/21/13 Page 9 of 20

officers made offensive remarks to Greene, to which he responded verbally. Sensing
that the officers were visibly enraged, Greene fled. The officers immediately exited the
police cruiser and chased him. At the direction of the officers, Greene stopped running.
The officers then swarmed Greene and severely beat him. Greene was only charged in
connection with his efforts to flee from and avoid the beating he received, and those
charges were dismissed.

2. Through this action, Greene seeks relief for the violation of his civil rights
at the hands of the Boston police officers who beat him. These officers are Defendants

Thomas Griffin, Stephen Fabiano, and two others who are presently unidentified.

JURISDICTION AND VENUE
3. This action is brought, pursuant to 42 U.S.C. § 1983, G.Lc. 12, § 11], and
the common law. The amount in controversy exceeds $25,000. This Court also has
exclusive jurisdiction over the plaintiff's claim under G.L. c. 12, 111, the Mass. Civil
Rights Act, pursuant to G.L. c. 12, § 11H
4. The acts giving rise to this civil action took place within three (3) years of

the filing of this Complaint, and occurred within Suffolk County, Massachusetts.

PARTIES
D. Plaintiff Robert L. Greene is a citizen of the Commonwealth of
Massachusetts and a resident of 444 Harrison Avenue, Boston, MA 02118.
6. Defendant Thomas Griffin, (“Officer Griffin”), whose true address is
unknown to the Plaintiff, is a duly appointed officer of the City of Boston Police

2
Case 1:13-cv-11080-DJC Document 6 Filed 05/21/13 Page 10 of 20

Department. At all times material to this Complaint, Officer Griffin was acting within
the scope of his employment under the color of state law. He is sued in his individual
capacity.

7. Defendant Stephen Fabiano, (“Officer Fabiano”), whose true address is
unknown to the Plaintiff, is a duly appointed officer of the City of Boston Police
Department. At all times material to this Complaint, Officer Fabiano was acting within
the scope of his employment under the color of state law. He is sued in his individual
capacity.

8. Defendants John Doe No. 1 and No. 2, whose names and addresses are
currently unknown to the plaintiff, are duly appointed officers of the City of Boston
Police Department. At all times material to this Complaint, John Doe No. 1 and No. 2
were acting within the scope of their employment under the color of state law. They are

sued in their individual capacities.

FACTS
9. On January 1, 2010, at approximately 6:45 p.m., the plaintiff was walking
westbound on East Berkley Street. His destination was Copley Square.
10. At that time, Defendants were patrolling the area of Washington Street
and East Berkley Street in Boston, Massachusetts in an unmarked police cruiser. The
Defendants claim they observed what they thought to be a hand-to-hand drug

transaction between Greene and another man, who were both on foot.
Case 1:13-cv-11080-DJC Document 6 Filed 05/21/13 Page 11 of 20

11. | The defendants approached Greene in an unmarked police cruiser as he
was walking down East Berkley Street. The driver of the unmarked cruiser identified
himself as police and asked Greene where he was going. Greene responded, and this
elicited an offensive remark directed at Greene from one of the Defendants. Greene,
who at this point was not under arrest, verbally responded to the offensive remark.

12. This remark caused the Defendants to become visibly enraged. Fearing
for his safety, Greene began running down East Berkeley Street towards Washington
Street. Defendants exited the police cruiser and ran after him.

13. After one of the Defendants shouted “Hold it or I'll shoot,” Greene
stopped running, and all four Defendants descended on him.

14. The Defendants struck Greene repeatedly on both sides of his head,
causing him to fall face down onto the sidewalk. Greene was handcuffed and his legs
were tied together with plastic restraints while one of the Defendants was sitting on
him. That Defendant forcefully pushed Greene’s head into the sidewalk at least three
times, causing him to suffer a serious head injury.

15. | Greene sustained a laceration to the right side of his head, causing him to
bleed profusely, and contusions to the left side of his face.

16. Instead of being examined by an Emergency Medical Technician, Greene
was transported to the District D-4 police station for booking.

17. After being booked, Greene was taken by ambulance to Tufts Medical

Center, where he received treatment for his injuries.
Case 1:13-cv-11080-DJC Document 6 Filed 05/21/13 Page 12 of 20

18. Defendant Officer Griffin filed an Application for Criminal Complaint on
January 4, 2010, alleging two counts of assault and battery on a police officer, resisting
arrest and disorderly conduct. Greene was not charged with a drug-related offense.

19. The charges against Greene were dismissed due to the Commonwealth's
failure to produce discovery, including Use of Force reports which the Boston Police
Department requires officers to complete.

20.. Greene has received treatment of the physical, neurological, and
psychiatric injuries sustained during this incident on several occasions, both at Tufts

and through his primary care physician.

CAUSES OF ACTION
COUNT I
VIOLATION OF FOURTH, EIGHTH, AND FOURTEENTH AMENDMENTS
BY DEFENDANT LAW ENFORCEMENT OFFICERS (42 U.S.C. § 1983)

21. ‘Plaintiff incorporates by reference the foregoing paragraphs as if restated
herein.

22. The defendants directly and proximately caused the following by acting
alone or in concert with one another:

(a) Violation of Greene’s clearly established Fourth and Fourteenth

Amendment right to be free from unreasonable seizure by: (i) seizure

without probable cause to believe the plaintiff had committed a crime; (ii)

using a degree of force that was unreasonable under the circumstances;
Case 1:13-cv-11080-DJC Document 6 Filed 05/21/13 Page 13 of 20

(b)

and/or (iii) failing to intervene and/ or ameliorate the physical attack on
Greene when an opportunity to do so existed.

Violation of Greene’s clearly established Eighth and Fourteenth
Amendment right to be free from cruel and unusual punishment by: (i)
using a degree of force that was unreasonable under the circumstances;
and/or (ii) failing to provide timely and/or adequate medical services.
Violation of Greene’s clearly established Fourteenth Amendment right to
due process of law by a deprivation of life and liberty without fair
procedure by: (i) using a degree or force that was unreasonable under the
circumstances; and /or (ii) failing to intervene and / or ameliorate the
physical attack upon Greene when an opportunity existed to do so; and/or

(iii) failing to provide timely and adequate medical services; and

(d) Other tortious activity that rises to the level of constitutional violations.

COUNT II
MASSACHUSETTS CIVIL RIGHTS ACT
(GL. c. 12 § 111)

23. Plaintiff incorporates by reference the foregoing paragraphs as if restated

herein.

24. The conduct of the Defendants described in Count 1 also constitutes

interference with the plaintiff's civil rights by threats, intimidation or

coercion, in violation of the Massachusetts Civil Rights Act, G.L. c. 12, § 111.
Case 1:13-cv-11080-DJC Document 6 Filed 05/21/13 Page 14 of 20

COUNT ITI
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

25. Plaintiff incorporates by reference the foregoing paragraphs as if restated
herein.

26. The Defendants, acting alone or in concert with one another, acted
intentionally in physically assaulting the plaintiff and depriving him of timely medical
care.

27. Defendants’ conduct was extreme and outrageous.

28. Plaintiff has sustained (and continues to sustain) extreme emotional
suffering as a direct and proximate result of the acts and omissions of the Defendants.

29. Plaintiff has suffered, and continues to suffer, severe emotional distress,

resulting in physical, psychiatric and emotional symptoms.

COUNT IV
ASSAULT & BATTERY

30. Plaintiff incorporates by reference the foregoing paragraphs as if restated
herein.

31. The defendants’ use of excessive force in arresting the plaintiff, acting alone
or in concert with one another, constituted common law assault and battery.

COUNT V
FALSE ARREST

32. Plaintiff incorporates by reference the foregoing paragraphs as if restated

herein.
Case 1:13-cv-11080-DJC Document 6 Filed 05/21/13 Page 15 of 20

33. The defendants’ arrest of the plaintiff was unjustified and lacking in probable

cause.

REQUESTS FOR RELIEF

WHEREFORE, the plaintiff, Robert L. Greene, requests that this Court:
. Award judgment against defendants as to Count One, including punitive
damages and attorney’s fees, as provided by 42 U.S.C. § 1988.
. Award judgment against defendants as to Count Two, including compensatory
damages and attorney’s fees, as provided by G.L. c. 12 § 111.
Award judgment against defendants as to Count Three, including punitive
damages.
. Award judgment against defendants as to Count Four, including punitive
damages.
Award judgment against defendants as to Count Five, including punitive
damages.

Award any other relief that this Court deems appropriate.
Case 1:13-cv-11080-DJC Document 6 Filed 05/21/13 Page 16 of 20

JURY DEMAND

PLAINTIFF DEMANDS A TRIAL BY JURY.
Respectfully submitted,

PLAINTIFF ROBERT L. GREENE,
By his Attorney,

Opt U5,
Dated: December 28, 2012 i SS

§ J. Rona (BBO# 642964)
ohn R. Bita III (BBO# 667886)

     

MILLIGAN COUGHLIN LLC
(HERESY ATTEST AND CERTIFY ON Seven Liberty Square, 2nd Floor
“May 14, 2013 pure Boston, Massachusetts 02109
Foneoowe DOCUMENT 8 A FULL, Tel: (617) 758-8800
ORIGHIAL ON FILE IN MY OFFICE Fax: (866) 708-4703
SN EAL OETA ijr@milligancoughlin.com
CLERK) WaGieTRATE. VN jrb@milligancoughlin.com

| VOR CIVIL GO
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BY: Mp 14 Lh lb gh —

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Case 1:13-cv-11080-DJC Document 6 Filed 05/21/13 Page 17 of20

 

TRIAL COURT OF MASSACHUSETTS
CIVIL ACTION COVER SHEET SUPERIOR COURT DEPARTMENT DOCKET NO. 42-46 AA
COUNTY |SUFFOLK
OF

 

 

 

Thomas GRIFFIN, Stephen FABIANO,

PLAINTIFF(S)Robert L. GREENE DEFENDANT(S) john DOE(S) 1 and 2

 

 

 

 

Type Plaintiffs Attorney name, Address, City/State/Zip Type Defendant's Attorney Name, Address, City/State/Zip
Phone Number and BBO# Phone Number (If Known)

 

John R. Bita Ill, Esq.

Milligan Coughlin, LLC

'? Liberty Square 2nd Floor
Boston, MA 02109

(617) 758 8800 BBO# 667886

 

 

 

 

 

TYPE OF ACTION AND TRACK DESIGNATION (See reverse side)
CODE NO. TYPE OF ACTION (specify) TRACK IS THIS A JURY CASE?

 

@; 1Yes (1 No
E17 Civil Rights Act G Lc 12, s 11H - Average Track

 

 

 

‘The following is a full, itemized and detailed statement of the facts on which plaintiff relies to determine

money damages, For this form, disregard double or treble damage claims; indicate single damages only.
co

 

(Attach additional sheets as necessary) =.
A. Documented medical expenses to date: =<
1. Total hospital expenses
2. Total doctor expenses
3. Total chiropractic expenses *
4. ‘Total physical therapy expenses at
5. Total other expenses (describe) os
Subtotal-

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B. Documented lost wages and compensation to date
C. Documented property damages to date
. Reasonably anticipated future medical expenses
E. Reasonably anticipated lost wages and compensation to date
F. Other documented items of damages (describe)

G. Brief description of plaintiff's injury, including nature and extent of injury (describe)
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poor —tanceuste disurler £ reke& Feyckert WLtD Totats 26972:

 

CONTRACT CLAIM
(Attach additional sheets as necessary)
Provide a detailed description of claim(s):

 

 

TOTAL Desecereenrerees

 

PLEASE IDENTIFY, BY CASE NUMBER, NAME AND COUNTY, ANY RELATED ACTION PENDING IN THE SUPERIOR
COURT DEPARTMENT

 

 

“I hereby certify that | have complied with the requirements of Rule 5 of the Supreme Judicial Court Uniform Rules on Dispute Resolution (SJC
Rule 1:18) requiring that I provide my cJiénts with i about eGjirt-connected dispute resolution services and discuss with them the
howd"

 

advantages and disadvantages of the v¥rious
jaosc. of Attorney of Record

A.O.S.C. 3-2007 WA

Date: Dec 28,2012

 

 

» HEREBY ATTEGT AND CERTIFY ON

May 14,2013 THAT THE
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TEU £05 CORRECT COPY OF TH
GRIGIHAL GM FILE IN MY OFFICE,
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< SUPERIOR CIVIL COMRT
LSPANTUENT OF FE TRIAL COURT
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Asste« ; Clerk

 

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You need not appear personally in court to answer the complaint, but if you claim to have a
ified herein and also file the

defense, either you or your attomey must serve a copy of your written answer within 20 days as speci

NOTICE TO DEFENDANT —
original in the Clerk's Office.

Case 1:13-cv-11080-DJC Document 6 Filed 05/21/13 Pagers! 20
Commonwealth of Massachusetts

SUFFOLK, ss. SUPERIOR COURT DEPARTMENT
OF THE TRIAL COURT
CIVIL ACTION

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Vv. etal

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“flastre vata, Sfephen Fibiene 4 . , Defendant(s) &
J Jolin Dow (EZ 8
SUMMONS

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To the above-named Defendant:

Liyes To Rone. ,

You are hereby summoned and required to serve upon

Mdhicen Couchlin ELE
plaintiff’s sttoméy; whage address is 2 Latbee oy Sg» Zui Elev [Sayre (af 02104 , an answer to
the complaint which is herewith served upon you, within 20 days after service of this summons upon you,
exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for the
relief demanded in the complaint. You are also required to file your answer to the complaint i in the office
of the Clerk of this court at Boston either before service upon plaintiff’s attorney or within a reasonable
time thereafter.

Unless otherwise provided by Rule 13(a), your answer must state as a counterclaim any claim which
you may have against the plaintiff which arises out of the transaction or occurrence that is the subject
matter of the plaintiff’s claim or you will thereafter be barred from making such claim in any other action.

on
Witness, Barbara J. Rouse, Esquire, at Boston, the Oo He day of

oe
PAE in the year of our Lord two thousand D, Anon
NOTES.

1. This summons is issued pursuant to Rule 4 of the Massachusetts Rules of Civil Procedure.

Clerk/Magistrate

2, When more than one defendant is involved, the names of all defendants should appear in the caption. If a separate summons is used for each defendant,

each should be addressed to the particular defendant,
‘

3. TO PLAINTIFF’S ATTORNEY: PLEASE CIRCLE TYPE OF ACTION INVOLVED
(1) TORT —(2) MOTOR VEHICLE TORT —(3) CONTRACT — (4) EQUITABLE RELIEF —(5) OTHER

FORM CIV.P. t 3rd Rev. 20M-10/11
HERESY ATTEBT AND CERTIFY ON

THAT THE

MO DOCUMENT IS AFULL,
TRUE AND CORRECT COPY OF THE
ORIUNAL ON FILE IN MY OFFICE.
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As t. Clerk

 
Case 1:13-cv-11080-DJC Document 6 Filed 05/21/13 Page 19 of 20

Suffolk County Sheriff's Department - 132 Portland Street, Boston, MA 02114 * (617) 704-6999

LE Suffolk, ss. February 14, 2013
I B¥reby certify and return that on 2/12/2013 at 10:30 AM I served a true and attested
copy of the Summons, Complaint, Cover Sheet and Tracking Order in this action in the
following manner: To wit, by delivering in hand to D. Bryant Clerk agent, person in
charge at the time of service for Thomas Griffin, Maureen Feeney-City Clerk 1 City Hall
Square Room 601 Boston, MA 02201-2014 . Attest/Copies ($5.00) Basic Service Fee
($30.00) Postage and Handling ($1.00) Travel ($1.00) Total: $37.00

  

Deputy Sheriff John Cammarata A (owiK

 

Deputy Sheriff
ed

Suffolk County Sheriff's Department + 132 Portland Street, Boston, MA 02114 + (617) 704-6999

A SM@\. Suffolk, ss. February 14, 2013
t BWreby certify and return that on 2/12/2013 at 10:30 AM I served a true and attested

eon) Se the Summons, Complaint, Cover Sheet and Tracking Order in this action in the
following manner: To wit, by delivering in hand to D.Bryant Clerk agent, person in
charge at the time of service for Stephen Fabiano, Maureen Feeney-City Clerk 1 City
Hall Square Room 601 Boston, MA 02201-2014 . Attest/Copies ($5.00) Basic Service Fee

($30.00) Postage and Handling ($1.00) Total: $36.00

  

Deputy Sheriff John Cammarata

 

YY Deputy Sheriff
Case 1:13-cv-11080-DJC Document 6 Filed 05/21/13 Page 20 of 20
Commonwealth of Massachusetts
County of Suffolk Be
. ?
The Superior Court q

CIVIL DOCKET # SUCV2012-04644
RE: Greene v Griffin et al

- ORDER OF

DISMISSAL UNDER STANDING ORDER 1 - 88

This action came on before the Court, pursuant to Standing Order 1-88; and it
appearing that service of process has not been completed upon the defendant(s)
named below, it is ORDERED that the complaint is hereby dismissed, eimnoue
prejudice, with respect to said defendant(s).

Doe 1, John
Doe 2, John

This order may be vacated only by the Regional Administrative Justice (or designée).
Dated this 1st day of May, 2013.

Paul E. Troy, Justice

Michael Joseph Donovan

Clerk of Courts
BY:
»MERESY ATTEST AND CERTIFY On Elaina M. Quinn
May Lo, 20° _ THAT TINE Assistant Clerk
FOREGOING DOCUMENT 18 A FUL
Telephone: 617-788-8107 WE AND CO} COPY OF THE

   

   

 

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Copies mailed.
